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                                            IN THE UNITED STATES DISTRICT COURT                                        United States District Court
                                            FOR THE SOUTHERN DISTRICT OF TEXAS                                            Southern District of Texas
                                                      HOUSTON DIVISION                                                       ENTERED
ALISON S. ROGERS,                                                        §                                                  March 19, 2019
            Plaintiff,                                                   §                                                David J. Bradley, Clerk
                                                                         §
v.                                                                       §                      CIVIL ACTION H-18-cv-4181
                                                                         §
CAR WASH PARTNERS, INC., ET AL.                                          §
           Defendant.                                                    §

                                                     RULE 16 SCHEDULING ORDER

Anticipated Length of Trial:   1     days                Jury:   X           Non-Jury:

The disposition of this case will be controlled by the following schedule:

1. April 12, 2019           NEW PARTIES shall be joined by this date. The attorney causing such joinder must provide copies of this ORDER
                            to the new parties.

2. April 12, 2019           AMENDMENTS to pleadings by Plaintiff or Counter-Plaintiff shall be made by this date. Absent parties’ agreement
                            or court approval, answers may not be amended more than 20 days after this date. Answers to amended claims and
                            counterclaims are due 20 days after amended claims or counterclaims are filed. Any amendments after this date must
                            be accompanied by a motion.

3. May 17, 2019             EXPERT WITNESSES FOR PLAINTIFF/COUNTER-PLAINTIFF shall be identified by a report listing the
                            qualifications of each expert, each opinion the expert will present, and the basis for each opinion.

4. June 14, 2019            EXPERT WITNESSES FOR DEFENDANT/COUNTER-DEFENDANT shall be identified by a report listing the
                            qualifications of each expert, each opinion the expert will present, and the basis for each opinion.

5. July 26, 2019            DISCOVERY must be completed by this date. Written discovery requests are not timely if they are filed so close to
                            this deadline that the recipient would not be required under Federal Rules of Civil Procedure to respond until after the
                            deadline.

6. October 23, 2019         MEDIATION/ADR with parties appearing in person or by a principal, and insurance companies that must be involved
                            in settlement appearing by a representative with authority to settle, to be completed by this date or the parties shall file
                            a report stating why Mediation/ADR is not appropriate.

7. August 16, 2019          DISPOSITIVE MOTIONS and ALL OTHER PRETRIAL MOTIONS (including Daubert/Kumho motions, but not
                            including other motions in limine) will be filed by this date.

8. December 13, 2019        JOINT PRETRIAL ORDER shall be filed on or before this date. Plaintiff is responsible for timely filing the complete
                            Joint Pretrial Order in the form set forth in the published Court Procedures.

9. December 20, 2019        OBJECTIONS to exhibits and/or witnesses shall be filed on or before this date.

10. December 27, 2019       DOCKET CALL is held in Courtroom 9D starting at 10:00 a.m. on this date. Absent parties’ agreement or court
                            approval, no documents filed within five (5) days before the Docket Call will be considered at Docket Call.

All communications concerning the case shall be directed in writing to Rhonda Moore-Konieczny, Case Manager for United States District Judge
Gray H. Miller, P.O. Box 61010, Houston, Texas 77208, or cm4141@txs.uscourts.gov.




Signed: March 19, 2019
                                                                                            Gray H. Miller
                                                                                      United States District Judge
